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   17
   18                               UNITED STATES DISTRICT COURT

   19                              SOUTHERN DISTRICT OF CALIFORNIA

   20                                                  )   Case No.: 3:16-cv-00463-BEN-JMA
         ViaSat, Inc.,                                 )
   21    a Delaware corporation,
                                                       )   Notice of Withdrawal of Plaintiff
   22                                                  )   ViaSat, Inc.’s Ex Parte Application to
                                       Plaintiff       )   Seal (Doc. No. 173)
   23                    and Counter Defendant,        )
   24                                                  )    Dist. Judge: Hon. Roger T. Benitez
               v.                                      )    Hon. Magistrate Jan M. Adler
   25                                                  )
   26    Acacia Communications, Inc.,                  )    Case Initiated: January 21, 2016
         a Delaware corporation,                       )
   27                                                  )
                                     Defendant         )
   28                      and Counter Claimant,
                                                         ViaSat v. Acacia, 3:16-00463-BEN-JMA
                                    Notice of Withdrawal of ViaSat’s Ex Parte Application to Seal
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    1          TO THE COURT, ALL PARTIES AND THEIR ATTORNEYS OF
    2   RECORD:
    3          PLEASE TAKE NOTICE that plaintiff and counter-defendant, Viasat, Inc.
    4   (“ViaSat”) hereby withdraws its Ex Parte Application to Seal (Doc. No. 173),
    5   including all accompanying exhibits.
    6          Plaintiff filed the Application in order to seal portions of expert reports and
    7   one documentary exhibit previously submitted with the parties’ pending motions, in
    8   conformance with the Court’s order (Doc. No. 169) requiring a narrower, more
    9   particularized request to seal as to those documents. Accompanying ViaSat’s
   10   application were redacted versions of the documents which the Court previously
   11   determined should not be sealed. Defendant and counterclaimant Acacia
   12   Communications, Inc. (“Acacia”) then filed its own motion to seal (Doc. No. 174),
   13   with its own redactions of those same documents, along with a request that all of the
   14   documents under consideration be sealed pending the Court’s ruling. Acacia
   15   informed Viasat that it objected to ViaSat’s public filing of the documents with its
   16   Ex Parte Application, and Acacia requested ViaSat to withdraw its Application so
   17   that none of the documents remain in the public record pending the Court’s
   18   determination on whether to permit sealing of portions of the documents in
   19   question. ViaSat agreed to do so, and therefore respectfully requests the Court to
   20   withdraw and remove from the record Doc. No. 173.
   21          ViaSat will respond to Acacia’s Motion To Seal (Doc. No. 174), and ViaSat
   22   will offer its own redactions of the documents in question in the context of that
   23   response. The parties do not agree completely on what should or should not be
   24   sealed, but it will be more efficient for the Court to consider their positions by ruling
   25   on Acacia’s motion, following submission of ViaSat’s response. In the interim,
   26   ViaSat wishes to accommodate Acacia’s request that the documents remain off the
   27   public docket until these issues are fully resolved.
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                                                -1-               3:16-cv-00463-BEN-JMA
                                Notice of Withdrawal of ViaSat’s Ex Parte Application to Seal
Case 3:16-cv-00463-BEN-JMA Document 176 Filed 06/28/18 PageID.15115 Page 3 of 4



    1   Dated: June 28, 2018                         FITZGERALD KNAIER LLP
    2
                                                    By: s/ Kenneth M. Fitzgerald
    3                                                   Kenneth M. Fitzgerald, Esq.
    4                                                   David M. Beckwith, Esq.
                                                        Keith M. Cochran, Esq.
    5
                                                        -and-
    6
    7                                                   WARREN LEX LLP
                                                        Matthew S. Warren, Esq.
    8
                                                        Patrick M. Shields, Esq.
    9
                                                        Attorneys for Plaintiff and Counter
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                                                        Defendant ViaSat, Inc.
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    1                            CERTIFICATE OF SERVICE
    2         I certify that today I am causing to be served the foregoing document by
    3   CM/ECF notice of electronic filing upon the parties and counsel registered as
    4   CM/ECF Users. I further certify that, to the extent they are not registered
    5   CM/ECF Users, I am causing the foregoing document to be served by electronic
    6   means via email upon counsel for Acacia Communications, Inc., per the agreement
    7   of counsel.
    8   Dated: June 28, 2018                            s/ Kenneth M. Fitzgerald
    9                                                   Kenneth M. Fitzgerald, Esq.

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                               Notice of Withdrawal of ViaSat’s Ex Parte Application to Seal
